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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


BRIAN HUDDLESTON,

         Plaintiff,

vs.
                                                     Case No. 4:20-cv-447-ALM
FEDERAL BUREAU OF
INVESTIGATION and UNITED STATES
DEPARTMENT OF JUSTICE

         Defendant


                PARTIAL OBJECTION TO DEFENDANT FBI’S MOTION
                   FOR LEAVETO SUBMIT EXHIBIT IN CAMERA

       NOW COMES Brian Huddleston, the Plaintiff, objecting in part to D EFENDANT FBI’S

MOTION OR LEAVE TO FILE IN CAMERA (“MOTION FOR LEAVE) (Doc. No. 55):

       As the Court knows, the Plaintiff seeks in camera review of all documents withheld or

redacted by the FBI, not just a single document. See PLAINTIFF’S RESPONSE IN OPPOSITION TO

DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AND PLAINTIFF’S CROSS-MOTION FOR

SUMMARY JUDGMENT (Doc. No 46) pp. 20-21. Accordingly, the Plaintiff does not object to in

camera review of the 10-page document described in the MOTION FOR LEAVE. The Plaintiff does,

however, object to in camera review of the document without permitting the undersigned to view

that document subject to an “attorney eyes only” protective order.

       The paramount importance of vigorous representation follows from the nature of our
       adversarial system of justice. This system is premised on the well-tested principle that
       truth—as well as fairness—is “ ‘best discovered by powerful statements on both sides of
       the question.’ ” Kaufman, Does the Judge Have a Right to Qualified Counsel?, 61
       A.B.A.J. 569, 569 (1975) (quoting Lord Eldon); see also Cronic, 466 U.S., at 655, 104
       S.Ct., at 2044; Polk County v. Dodson, 454 U.S. 312, 318–319, 102 S.Ct. 445, 449–50,



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       70 L.Ed.2d 509 (1981).

Penson v. Ohio, 488 U.S. 75, 84, 109 S. Ct. 346, 352, 102 L. Ed. 2d 300 (1988). The undersigned

cannot offer “powerful statements… on the question” if he is not permitted to view the

document.

       If, for example, the FBI obtained copies of private communications that were exchanged

on Twitter’s direct messaging system, and it did so without a warrant, then the undersigned

should be permitted to offer an argument for public release of the document. Such a scenario

would be a matter of enormous and legitimate public interest. On April 30, 2022, for example,

various media outlets reported that the FBI may have conducted as many 3.4 million searches on

U.S. citizens without a warrant. See, e.g., Lily Hay Newman, “Security News This Week: The

FBI Conducted 3.4 Million Warrantless Searches of Americans' Data,” April 30, 2022, Wired,

https://www.wired.com/story/fbi-warrantless-searches-americans-2021-security-roundup/, citing

Office of the Director of National Intelligence, “Annual Statistical Transparency Report

Regarding the Intelligence Community’s Use of National Security Surveillance Authorities,”

April 2022, https://www.dni.gov/files/CLPT/documents/2022_ASTR_for_CY2020_FINAL.pdf.

In an October 18, 2018 order and another on July 12, 2019, U.S. District Judge James Boasberg

found that the FBI had conducted illegal searches on thousands of U.S. citizens. See October 18,

2018 Memorandum Opinion and Order, https://www.intel.gov/assets/documents/

702%20Documents/declassified/2018_Cert_FISC_Opin_18Oct18.pdf, and July 12, 2019

Memorandum Opinion and Order, https://www.dni.gov/files/CLPT/documents/

2022_ASTR_for_CY2020_FINAL.pdf.

       The undersigned is a former law enforcement officer and, obviously, an officer of the

court. As such, he has no interest in compromising legitimate law enforcement techniques.



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Likewise, he has not interest in disclosing information that is genuinely proprietary as opposed to

genuinely embarrassing to the commercial institution in question. If the Court permits the

undersigned to view the ten-page document subject to an “attorney eyes only” order, the

undersigned will not disclose any information from the ten-page document unless he is granted

permission by the Court.

                                           Conclusion

       The undersigned should be permitted to view the ten-page document subject to an

“attorney eyes only” order.

                                             Respectfully submitted,

                                             /s/ Ty Clevenger
                                             Ty Clevenger
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                                             Counsel for Plaintiff Brian Huddleston




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                                   Certificate of Conference

        On May 6, 2022, I conferred with Asst. U.S. Attorney Andrea Parker via email, and she
indicated that the Defendants will oppose this motion.

                                            /s/ Ty Clevenger
                                            Ty Clevenger



                                     Certificate of Service

        On May 6, 2022, I filed a copy of this response with the Court’s ECF system, which
should result in automatic notification via email to Asst. U.S. Attorney Andrea Parker, Counsel
for the Defendants, at andrea.parker@usdoj.gov.

                                            /s/ Ty Clevenger
                                            Ty Clevenger




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